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  HOUSTON: Yeah.

  TT:          Yeah, and he talked some shit that he didn’t…had no knowledge bout… wasn’t
               even there.

  CHS:         Yeah… yeah.

  TT:          Yeah. It was some weird shit how he did it though! You know I’m…

  CHS:         Yeah. He was trying to get paid.

  0043.006- 14:56: SUMMARY Houston, Thomas, and Pete continue to talk about snitches.
                They reference an incident in the past with BGC member “Vamp” Donald
                Woods and “paperwork” [law enforcement documentation of cooperation]

  UM:          But… but… it like this here too.

  UM:          [UI]

  CHS:         Yeah! That’s what he say.

  HOUSTON: Its like you and you and you and Vamp’s issue my nigga. I don’t… I don’t… I’m
           sayin’… I think a mutha fucka probably can handle that… you know what I’m
           saying…how ya’ll can’t handle it, you know what I’m sayin’…cause when a
           nigga pull up and certain people and bitches out here, nigga hop out…nigga
           blowin’ a nigga… woo woo wha…woo woo wha. What’s going on? You know
           what I’m saying? Somebody foul and somebody telling the truth. You know what
           I’m saying? Somebody lying!

  TT:          But ain’t nobody brought no paperwork.

  UM:          So therefore…

  UM:          That’s why it need to be put up front.

   TT:         Nigga gotta stop…

  UM:          My issue’s like right…

  TT:          Stop talkin’ about that.

  UM:          Okay look…

  TT:          Nigga can’t… uh… uh… produce no paperwork. They can’t say nothing!


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  UM:         [UI] nigga ask…

  UM:         [UI] bo… bogus!

  UM:         He can’t say nothin’!

  AP:         It’s like a told a nigga in the first place cuz… that’s… that’s… that’s like I told
              nigga in the first place homie. Mutha fucka know what happen cuz. I’m saying,
              we was teenagers… young… you knew the business already.

  HOUSTON: Yeah [UI].

  AP:         Before we even went out there. You… you already knew that. But you didn’t let
              us know nothing until after the fact we find out everything else.

  HOUSTON: About what?

  UM:         Huh?

  HOUSTON: About what?

  AP:         That they been on a nigga… and all that nigga I called about a day before.

  UM:         Shit.

  HOUSTON: But you gonna fuck with… you fuck… you fuck with uh… uh… uh… with Vamp
           and uh… Leather Face. Know I’m saying? Ain’t my obligation to say nothing.

  TT:         Vamp.

  AP:         Yeah Vamp. And then when we get out there… [UI] and your name and all that
              cuz.

  HOUSTON: Who was that?

  TT:         Nah the police was on him already.

  UM:         Uh… uh…uh… uh… uh…

  HOUSTON: Oh Vamp?

  TT:         Vamp, yeah.

  AP:         Oh, Donald.


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  HOUSTON: Yeah I don’t… I don’t… I don’t… I ain’t gonna say… he… he probably didn’t
           even know they was on him.

  UM:          Yeah.

  HOUSTON: The police!

  TT:          Nah. They knew…I read the paperwork. They knew where his house was at and
               everything.

  AP:          They knew everything cuz!

  TT:          I said they knew it already!

  HOUSTON: Right! But I’m saying though… you… you can’t tell… like right now…we don’t
           who the fuck the police on right now.

  TT:          You… you don’t.

  HOUSTON: So therefore… and you… and you finally get your paperwork… it might say a
           thousand different addresses. But it… it don’t mean…the thing is… what you do
           in that situation? How did it come out? What was the outcome? Cause one thing
           about it my nigga it… it… it…it’s the beginning…it’s end. How did it end?

  UM:          Yeah.

  HOUSTON: That’s the thing. How did it end?

  UM:          Yeah.

  AP:          Cause everybody can’t be 100 my nigga it ain’t that [UI]…

  UM:          Hey I’m at the meeting, come through.

  UM:          Haha…

  AP:          … it’s a whole different ballgame.

  TT:          Yeah, that’s when you know you 100.

  HOUSTON: A whole different ballgame my nigga.

  UM:          I’m at the meeting. I’ll call you back.



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  HOUSTON: …know I mean? I… I… I talkin’ about… man…I’m talkin’ about… I’ve watched
           some niggas…some killas’ my nigga… fold like lawn chairs my nigga. So all
           that…that don’t impress me my nigga. That shit don’t impress me at all… the
           way you dress… that shit don’t impress me my nigga. It’s what’s in that
           niggas…up under…up under that mutha fucking chest plate. You know I mean?
           But… But… a lot of shit man… if you 100… you 100 man…

  UM:           [UI]

  HOUSTON: … but ya’ll need…mutha fucka need to solve that shit out though. You know
           what I’m saying? Cause motherfucker saying it’s saying this and saying that man.
           Me…if you don’t have paperwork work…leave it alone.

  UM:           I’m on 53rd at the meetin’. Come here. Come to the meetin’. Bye.

  HOUSTON: Leave it the fuck alone! When niggas keep jabbing at that shit…handle your
           business.

  AP:           I’m not fittin’ to keep [UI] cuz…

  HOUSTON: Leave it alone then, you know I mean? But I got… I… I [UI].

  AP:           All… all…all that talkin’ you doin’…I told a nigga already…you know [UI]

  HOUSTON: But if it’s your homie. He ain’t never gonna do shit like that. If it’s your homie,
           know what I’m saying?

  AP:           That nigga ain’t my homie cuz.

  HOUSTON:              Okay. Well then ya’ll need… well then… you need to take that up with
  him then.

  AP:           I already told you…nigga ain’t my homie.

  HOUSTON: Ya’ll need to handle that business then. Something needs to happen then.

  UM:           Yeah.

  HOUSTON: Something needs to happen. Bottom line. But what was you saying my nigga?

  0043.006- 17:30- (Charles Smith complains about the gangs unequal treatment of certain
  members of the gang who snitch.)

  CS:           [UI] look… by you saying that right now… look… nigga Lil [UI] told me
                um…Lonnie Capone’s son Tone and my um… cousin Baby Hit Man…Rodney

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